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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                DEL RIO DIVISION

 JAVIER CAZARES, Individually as Wrongful §
 Death Beneficiary of J.J.C., Deceased Minor, et §
 al.,                                            §
                                                 §
              Plaintiffs,                        §
 v.                                              § No. 2:24-cv-00045-AM
                                                 §
 JUAN MALDONADO, et al.,                         §
                                                 §
              Defendants.                        §
                                                 §
                                                 §

 [PROPOSED] ORDER GRANTING DEFENDANT MOTOROLA SOLUTIONS, INC.’S
       UNOPPOSED MOTION FOR EXTENSION OF TIME TO ANSWER
     OR OTHERWISE RESPOND TO PLAINTIFF’S AMENDED COMPLAINT

       This Court, having considered Defendant Motorola Solutions, Inc.’s Unopposed Motion

for Extension of Time to Answer or Otherwise Respond to Plaintiff’s Amended Complaint (the

“Motion”) [ECF No. 24], finds the Motion should be GRANTED. Accordingly, the Court extends

Defendant Motorola Solutions, Inc.’s time to answer or otherwise respond to Plaintiff’s Amended

Complaint to July 22, 2024.

       IT IS SO ORDERED.



       Date: _____________, 2024                   ____________________________________
                                                   Chief U.S. District Judge Alia Moses
